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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION



  SEAN PAUL REYES,                             )
                                               )
                         Plaintiff,            )
                                               )          No. 22 CV 7339
          v.                                   )
                                               )          Magistrate Judge
  RICHARD VOLANTI,                             )          Maria Valdez
  DETECTIVE MONACO, OFFICER                    )
  GHILONI, RUTH SIABA,                         )
  Individually, and the CITY OR                )
  BERWYN, a Municipal                          )
  Corporation,
                                               )
                         Defendants.           )

                     MEMORANDUM OPINION AND ORDER

       Plaintiff Sean Paul Reyes brought suit against Defendants Volanti, Monaco,

Ghiloni, and Siaba Green 1 under 42 U.S.C. §§ 1983 and 1988 for unlawful arrest,

civil conspiracy, malicious prosecution, and against the City of Berwyn for

indemnification. The parties have consented to the jurisdiction of the United States

Magistrate Judge pursuant to 28 U.S.C. § 636(c). Before the Court is Defendants’

Motion for Summary Judgment. [Doc. No. 81.] For the reasons set forth below,

Defendants’ motion for summary judgment is granted.




1 In his complaint, Plaintiff interchanges “Ruth Siaba” with “Ruth Siaba Green.”

Defendant’s last name is in fact “Siaba Green.” Therefore, the Court will identify her a
“Siaba Green” throughout this opinion.
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                                         FACTS 2

       On November 8, 2021, Plaintiff went to Berwyn City Hall with a GoPro

camera strapped to his person while also video recording with a cell phone. Before

entering, he first recorded a sign on the door that read “No cameras or recording

devices without prior approval per 720 ILCS /art. 14.” He then entered the building.

On the first floor, Plaintiff filmed additional signs posted referencing the statute

that purportedly prohibited video recording (the “Eavesdropping Statute”). He also

filmed several people, including City employees. One City employee told Plaintiff

that video recording was prohibited. A number of City employees called Defendant

Siaba Green, the City Administrator, for assistance. One City employee, Shannon

Reberski, told Siaba Green that Plaintiff’s conduct made Reberski feel

uncomfortable.

       Plaintiff proceeded to the second floor, which houses several offices including

Siaba Green’s. Defendant Detective Monaco was in Siaba Green’s office when

Plaintiff arrived. Siaba Green asked Plaintiff to stop recoding her and told him that

it was prohibited without her permission pursuant to a state law. At some point,

Siaba Green asked Monaco to call the police station and request a supervisor.

Dispatch called Defendant Sergeant Volanti regarding Plaintiff’s video recording in

City Hall.




2 Unless otherwise noted, the following material facts are undisputed or are deemed

admitted due to a party's failure to comply with Local Rule 56.1, which this Court strictly
enforces.


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      Monaco asked to talk to Plaintiff, and Plaintiff followed him. While they were

speaking, Plaintiff told Monaco that the signs and the statute were

unconstitutional. He also characterized himself as an independent journalist and

told Monaco that he has freedom of the press. He said that he had business to

conduct in City Hall and that he was working on a story about transparency and

accountability.

      Plaintiff followed Monaco down the stairs, and they continued to discuss the

sign. Defendant Officer Ghiloni appeared on the stairwell and observed Plaintiff’s

and Monaco’s interaction. Plaintiff continued to discuss the constitutionality of the

sign and also stated that he was there to submit a Freedom of Information Act

(“FOIA”) request.

      When Volanti arrived, Plaintiff was speaking with Ghiloni and Monaco.

When Volanti asked Plaintiff about his purpose in City Hall, Plaintiff reiterated the

same reasons he had given Monaco. Volanti then showed Plaintiff where he could

submit a FOIA request. Plaintiff then proceeded to submit his FOIA request

without incident, continuing to film while doing so.

      Monaco told Volanti about Plaintiff’s video recording and their requests that

he cease. Volanti went to Siaba Green’s office and spoke with her about the

situation. He also spoke with Reberski, who told him that she was uncomfortable.

Another City employee, Tricia Powers, told Volanti that she was frightened,

alarmed, and disturbed. After Plaintiff completed his FOIA request, Volanti led

Plaintiff outside and showed him the sign on the window that stated that it was




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illegal to record in City Hall, citing the Eavesdropping Statute. Volanti used his

phone to look up the Eavesdropping Statute. Volanti did not immediately arrest

Plaintiff after looking up the Eavesdropping Statute and instead walked away to

speak with Monaco.

      Volanti, who had just been promoted to Sergeant days earlier, eventually

decided to arrest Plaintiff. Plaintiff was placed in Ghiloni’s vehicle, and Ghiloni

transported Plaintiff to the Berwyn Police Station.

      At the time of the events leading up to Plaintiff’s arrest, Siaba Green believed

that the signs permitted her to refuse to allow Plaintiff to record her while she was

working in her office in City Hall. Once at the police station, Volanti determined

that the Eavesdropping Statute did not apply to the circumstances of Plaintiff’s

video recording. Siaba Green also eventually came to learn that the Eavesdropping

Statute was not applicable.

      Volanti asked Siaba Green to sign a criminal complaint against Plaintiff for

his conduct at City Hall. Siaba Green signed the complaint. She believed that Reyes

was not at City Hall to seek any City services but instead to interrupt daily

business by filming in City Hall. She believed that City Hall employees felt

threatened, uncomfortable, and disturbed by Plaintiff’s conduct. Plaintiff was

charged with disorderly conduct. On August 10, 2022, the disorderly conduct charge

against Plaintiff was stricken off with leave to reinstate.




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                             PROCEDURAL HISTORY

      Plaintiff sued Defendants under 42 U.S.C. §§ 1983 and 1988, alleging in

Count I that the Individual Defendants unlawfully arrested Plaintiff. In Count II,

Plaintiff alleges that the Individual Defendants conspired to deprive Plaintiff of his

constitutional rights. In Count III, Plaintiff alleges that the Individual Defendants

maliciously prosecuted Plaintiff despite knowing that the charges were false. Count

IV is a claim against the City for indemnification based on the Individual

Defendants’ employment with the City. After the completion of discovery,

Defendants filed the instant motion for summary judgment on the basis that, inter

alia, the Individual Defendants had probable cause to arrest Plaintiff.

                                LEGAL STANDARD

      Summary judgment is appropriate where “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if

any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). The Court

must draw all reasonable inferences in favor of the nonmovant. Herzog v. Graphic

Packaging Int’l, Inc., 742 F.3d 802, 805 (7th Cir. 2014) (citation omitted).

      However, once the movant has carried its burden under Rule 56(c), “its

opponent must do more than simply show that there is some metaphysical doubt as

to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

574, 586 (1986). The party opposing summary judgment must offer admissible

evidence in support of his version of events, and hearsay evidence does not create a




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genuine issue of material fact. McKenzie v. Ill. Dep’t of Transp., 92 F.3d 473, 484

(7th Cir. 1996); see Larimer v. Dayton Hudson Corp., 137 F.3d 497, 500 (7th Cir.

1998) (“‘If the non-moving party bears the burden of proof on an issue, . . . that

party may not rest on the pleadings and must instead show that there is a genuine

issue of material fact.’”) (citation omitted). “The mere existence of an alleged factual

dispute is not sufficient to defeat a summary judgment motion. . . . The nonmovant

will successfully oppose summary judgment only when it presents ‘definite,

competent evidence to rebut the motion.’” Vukadinovich v. Bd. of Sch. Trs. of N.

Newton Sch. Corp., 278 F.3d 693, 699 (7th Cir. 2002) (citations omitted).

Furthermore, courts are “‘not required to draw every conceivable inference from the

record,”’ United States v. Luce, 873 F.3d 999, 1005 (7th Cir. 2017) (citation omitted),

nor do they “have to scour the record or make a party’s argument for it,” Varlen

Corp. v. Liberty Mut. Ins. Co., 924 F.3d 456, 460 (7th Cir. 2019).

                                     ANALYSIS

I.      Plaintiff’s Video Evidence

        Before discussing Plaintiff’s claims themselves, there Court must address the

admissibility of one of the primary evidentiary bases for much of Plaintiff’s

Response to Defendants’ Joint Statements of Undisputed Material Facts in Support

of Their Motions for Summary Judgement and Plaintiff’s Statement of Undisputed

Additional Facts—the video Plaintiff took in Berwyn City Hall that underlies this

entire dispute. After taking the video footage on the date in question, Plaintiff then

edited the footage and uploaded it to YouTube. Plaintiff later lost the original




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footage, sold the devices used to record the footage, and in response to Defendants’

discovery requests, provided only a link to the edited YouTube version of the video

and did not inform Defendants that the original had been lost. Plaintiff cites the

video in support of most of his responses to Defendants’ statements of facts and in

support of most of his statements of additional facts.

      Defendants contend that the video is inadmissible because there is no way to

know whether and to what extent it has been altered, and thus, the vast majority of

Plaintiff’s responses to Defendants’ statements of facts and Plaintiff’s statements of

additional facts should be disregarded. Plaintiff responds that the video is so

definitive that there can be no doubt about what it shows. But the problem with the

video is what it does not show.

      The video has two primary deficiencies. First, it has been altered. Upon

reviewing the video, the Court detected three cuts where footage is omitted, two of

which are while Plaintiff was inside Berwyn City Hall, and the other of which is

after he was led outside. There may be additional cuts that the Court did not detect.

      Second, and more significantly, the video only shows events that took place in

Plaintiff’s presence. For example, the video does not show the conversations Volanti

had with Reberski or Powers when they told Volanti that Plaintiff’s conduct caused

them to feel causing them to feel uncomfortable, frightened, alarmed, and

disturbed. The Court will consider the video and those of Plaintiff’s responses to

Defendants’ statements of facts and Plaintiff’s statements of additional facts that

rely upon it, but the Court will only afford the video the evidentiary weight to which




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it is entitled with respect to each response or statement that relies upon it. In other

words, if a response or statement relies upon the video as evidence of something the

video does not show, it cannot constitute “admissible evidence in support of

[Plaintiff’s] version of events.” McKenzie, 92 F.3d at 484.

II.      Probable Cause

         A.    Plaintiff’s Constitutional Claims

         Plaintiff’s constitutional claims consist of a claim for violation of his Fourth

Amendment rights in the form of unlawful seizure (Count I) and conspiracy to do

the same (Count II).

         The Fourth Amendment protects against unreasonable seizures, and the

“general rule [is] that Fourth Amendment seizures are reasonable only if based on

probable cause to believe that the individual has committed a crime.” Moorer v. City

of Chicago, 92 F.4th 715, 720 (7th Cir. 2024) (quoting Bailey v. United States, 568

U.S. 186, 192 (2013)). “Probable cause is a fluid concept that is based on the totality

of the circumstances.” Id. (citations omitted). “It is established where a probability

or a substantial chance of criminal activity exists and does not require a certainty

that a crime was committed.” Id. (citations omitted). “As the [Supreme] Court has

repeatedly noted, probable cause ‘is not a high bar.’” Id. (quoting District of

Columbia v. Wesby, 583 U.S. 48, 57 (2018)). “It is assessed objectively, based upon

conclusions that an arresting officer reasonably could draw from the information

known.” Id. (citations omitted). “At the time of the arrest police officers need

probable cause that a crime has been committed, not that the criminal defendant




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committed all of the crimes for which he or she is later charged.” Calusinski v.

Kruger, 24 F.3d 931, 935 (7th Cir. 1994) (emphasis added). “An arrest may be

supported by probable cause that the arrestee committed any offense, regardless of

the crime charged or the crime the officer thought had been committed.” United

States v. Shields, 789 F.3d 733, 745 (7th Cir. 2015) (emphasis added).

       “When police officers obtain information from an eyewitness or victim

establishing the elements of a crime, the information is almost always sufficient to

provide probable cause for an arrest in the absence of evidence that the information,

or the person providing it, is not credible.” Pasiewicz v. Lake Cnty. Forest Pres. Dist.,

270 F.3d 520, 524 (7th Cir. 2001); see also Woods v. City of Chicago, 234 F.3d 979,

997 (7th Cir. 2000) (“[P]olice officers have no constitutional obligation to conduct

any further investigation before making an arrest if they have received information

from a reasonably credible victim or eyewitness sufficient to supply probable

cause.”).

             1.     Siaba Green

       As an initial matter, contrary to Plaintiff’s allegations in Count I, Siaba

Green was not a police officer at the time of Plaintiff’s arrest and did not arrest

Plaintiff. Indeed, the parties do not dispute that she was not a police officer, but was

rather the City Administrator, and Plaintiff acknowledges as much in his briefs.

Thus, Plaintiff’s unlawful seizure claim against Siaba Green fails as a matter of

law.




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             2.     Defendant Police Officers

      Volanti arrested Plaintiff; Monaco and Ghiloni merely assisted him. Thus,

the relevant inquiry is only what Volanti knew when he arrested Plaintiff. Under

these facts, Monaco and Ghiloni are not legally obligated to articulate any

independent probable cause. See, e.g., Adeszko v. Degnan, 2006 U.S. Dist. LEXIS

87026, *14 (N.D. Ill. Nov. 29, 2006 (“[M]erely assisting another officer in

effectuating an arrest in progress does not require that the assisting officer acquire

probable cause independent of the initiating officer.”)

      Plaintiff argues that Volanti did not have probable cause to arrest him for

either disorderly conduct or for violating the Eavesdropping Statute. Under Illinois

law, one commits the crime of disorderly conduct when “a person . . . knowingly . . .

[d]oes any act in such an unreasonable manner as to alarm or disturb another and

to provoke a breach of the peace.” 720 ILCS 5/26-1(a)(1). Further, “videotaping other

people, when accompanied by other suspicious circumstances, may constitute

disorderly conduct.” Reher v. Vivo, 656 F.3d 772, 776 (7th Cir. 2011).

      As an initial matter, Plaintiff disagrees that Volanti arrested him for

disorderly conduct and claims the arrest was only for violating the Eavesdropping

Statute. But Volanti testified in his deposition that he arrested Plaintiff for

disorderly conduct. Plaintiff offers no contrary evidence. In his responses to

Defendants’ Statement of Facts, Plaintiff denies that Volanti arrested him for

disorderly conduct solely on the basis that his “conduct was reasonable,” citing three

time stamps from the video. Plaintiff’s assertion that his “conduct was reasonable”




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does not constitute “definite, competent evidence to rebut” Volanti’s testimony or

Defendants’ motion for three primary reasons. See Vukadinovich, 278 F.3d at 699.

First, this assertion is merely Plaintiff’s opinion. Second the video has several cuts

in it, which may have shown unreasonable conduct that was edited out by Plaintiff.

Third, and most importantly, the standard is whether Volanti reasonably believed

that Plaintiff was in violation of the disorderly conduct statute, not whether

Plaintiff’s conduct was in fact reasonable. See Moorer, 92 F.4th at 720. Thus,

Defendants’ statement that Volanti arrested Plaintiff for disorderly conduct is

deemed admitted.

      It is undisputed that at least two City employees, Reberski and Powers, told

Volanti that Plaintiff’s conduct was causing them to feel uncomfortable, frightened,

alarmed, and disturbed. As noted above, “[w]hen police officers obtain information

from an eyewitness or victim establishing the elements of a crime, the information

is almost always sufficient to provide probable cause for an arrest in the absence of

evidence that the information, or the person providing it, is not credible.” Pasiewicz,

270 F.3d at 524. Here, there is no evidence that either Reberski or Powers was not

credible when they told Volanti that Plaintiff made them feel uncomfortable,

frightened, alarmed, and disturbed. Indeed, Plaintiff never makes this argument in

any of his pleadings or briefs. Therefore, Volanti’s reliance on Reberski’s and

Powers’s statements was sufficient to provide him with probable cause to arrest

Plaintiff for disorderly conduct.




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       Plaintiff claims that the video creates a question of material fact as to

whether the City employees were in fact alarmed, disturbed, or frightened. The

video is edited and does not show any event that occurred outside of Plaintiff’s field

of view, including Volanti’s conversations with Reberski and Powers. Moreover,

Plaintiff does not even deny that Reberski or Powers made these statements to

Volanti. Citing the video, he denies that he targeted Reberski intentionally or that

any City employee was highly upset or visibly shaking during conversations with

him, and he asserts that he was acting reasonable under the circumstances, and

that he walked away when Reberski did not answer him. Even if taken as true,

none of these assertions controvert what these employees told Volanti prior to

Plaintiff’s arrest.

       The undisputed evidence establishes that Volanti had probable cause to

arrest Plaintiff for “knowingly . . . act[ing] in such an unreasonable manner as to

alarm or disturb another and to provoke a breach of the peace.” 720 ILCS 5/26-

1(a)(1). Because Volanti had probable cause to arrest Plaintiff for disorderly

conduct, the Court need not reach the question of whether Volanti had probable

cause to arrest Plaintiff for violating the Eavesdropping Statue. See Shields, 789

F.3d at 745 (“An arrest may be supported by probable cause that the arrestee

committed any offense, regardless of the crime charged or the crime the officer

thought had been committed.”) (emphasis added). Because there was no underlying

constitutional violation (Count I), Plaintiff’s conspiracy claim (Count II) also must




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be dismissed. See, e.g., Ewell v. Toney, 853 F.3d 911, 918 (“[T]here must be an

underlying constitutional injury or the conspiracy claim fails.”).

       B.     Plaintiff’s Remaining Claims

       Plaintiff’s remaining claims consist of a claim for malicious prosecution

(Count III) and an indemnification claim against the City based on the Individual

Defendants’ employment with the City (Count IV). As a threshold matter, there is

no constitutional claim for malicious prosecution. See Ray v. City of Chicago, 629

F.3d 660, 664 (7th Cir. 2011) (holding that there is no federal malicious prosecution

cause of action because Illinois law recognizes a tort claim for malicious

prosecution). Even if the Court were to construe Plaintiff’s malicious prosecution

claim as an Illinois state law claim, it still fails.

       “[M]alicious prosecution suits are disfavored by law because of the potential

deterrent effect on the reporting of crime.” Logan v. Caterpillar, Inc., 246 F.3d 912,

921 (7th Cir. 2001) (citing Joiner v. Benton Cmty. Bank, 82 Ill. 2d 40 (Ill. 1980)).

Under Illinois law, “malicious prosecution requires a showing that: (1) the

defendant commenced proceedings against the plaintiff maliciously and without

probable cause; (2) the suit terminated in the plaintiffs favor; and (3) the plaintiff

was injured beyond the cost and annoyance of defending the suit.” Penn v. Harris,

296 F.3d 573, 576 (7th Cir. 2002). Malice is present when a prosecution is initiated

for any reason other than to bring a party to justice. Rodgers v. Peoples Gas Light &

Coke Co., 315 Ill. App. 3d 340, 349 (Ill. App. Ct. 2000). However, “malice may not be

inferred where probable cause exists.” Turner v. City of Chicago, 91 Ill. App. 3d 931,




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937 (Ill. App. Ct. 1980); see also Washington v. City of Chicago, 98 F.4th 860, 863

(7th Cir. 2024) (“The existence of probable cause is a defense to . . . malicious

prosecution claims.”). As discussed above, there was probable cause to arrest

Plaintiff, so Plaintiff’s malicious prosecution claim fails.

       Because there are no remaining claims, Plaintiff’s claim for indemnification

(Count IV) against the City also must be dismissed. See, e.g., Bruno v. Wells-

Armstrong, 93 F.4th 1049, 1056 (7th Cir. 2024) (“[B]ecause the City need only

indemnify its employees if those employees are found liable, the indemnification

claim fails if the employees are not liable.”).

III.   Qualified Immunity

       Even if probable cause did not exist to arrest Plaintiff, the arresting officers

would be entitled to qualified immunity. “Qualified immunity requires the court to

determine: (1) whether the record evidences the violation of a federal statutory or

constitutional right; and if so (2) whether the right violated was clearly established

at the time the violation occurred. Schimandle v. Dekalb Cnty. Sheriff’s Off., 114

F.4th 648, 655 (7th Cir. 2024). “‘If either inquiry is answered in the negative,’”

qualified immunity protects the defendant official. Id. (quoting Gibbs v. Lomas, 755

F.3d 529, 537 (7th Cir. 2014)). Qualified immunity provides “ample room for

mistaken judgments” and protects all but the “plainly incompetent and those who

knowingly violate the law.” Id. (quoting Wheeler v. Lawson, 539 F.3d 629, 639 (7th

Cir. 2008)).




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      Assuming arguendo that probable cause did not exist to arrest Plaintiff, a

person does have a constitutional right to be free from arrest without probable

cause, and that right is clearly established. See id. (citing Fleming v. Livingston

Cnty, 674 F.3d 874, 879 (7th Cir. 2012)). But an officer is still entitled to qualified

immunity in a false arrest case when “a reasonable officer could have mistakenly

believed that probable cause existed.” Fleming, 674 F.3d at 880 (quoting Humphrey

v. Staszak, 148 F.3d 719, 725 (7th Cir. 1998)). This inquiry is sometimes referred to

as “arguable probable cause.” Id. Arguable probable cause is established when “a

reasonable officer in the same circumstances and possessing the same knowledge as

the officer in question could have reasonably believed that probable cause existed in

the light of well-established law.” Id.

      The undisputed facts show that Volanti had probable cause to arrest Plaintiff

based on the statements of Reberski and Powers. Therefore, even if Volanti did not

have probable cause to arrest Plaintiff for disorderly conduct, he at least reasonably

believed Plaintiff’s video recording constituted knowingly committing an act “in

such an unreasonable manner as to alarm or disturb another and to provoke a

breach of the peace.” 720 ILCS 5/26-1(a)(1).

      The other Defendant Police Officers also would be entitled to qualified

immunity. When assisting officers observe another officer arresting someone, they

are entitled to believe that the arresting officer has probable cause. See, e.g., Boyle

v. Torres, 756 F. Supp. 2d 983, 992 (N.D. Ill. 2010). Thus, Monaco and Ghiloni

reasonably believed that Volanti had probable cause to arrest Plaintiff.




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                                 CONCLUSION

      For the foregoing reasons, Defendants’ Motion for Summary Judgment [Doc.

No. 81] is granted.


SO ORDERED.                                 ENTERED:




DATE: January 13, 2025                      ___________________________
                                            HON. MARIA VALDEZ
                                            United States Magistrate Judge




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